          Case 2:12-cr-00082-APG-VCF              Document 313         Filed 02/22/13      Page 1 of 1

                                   UNITED STATES DISTRICT COURT

                                           DISTRICT OF NEVADA

                                                       ***

UNITED STATES OF AMERICA,                                )
                                                         )
                             Plaintiff,                  )
                                                         )             2:12-cr-00082-MMD -VCF
v.                                                       )
                                                         )             MINUTE ORDER
VANESSA RUIZ,                                            )
                                                         )
                             Defendant.                  )
                                                         ) Dated:      February 22, 2013

PRESENT:          THE HONORABLE CAM FERENBACH, United States Magistrate Judge

JUDICIAL ASSISTANT:                 Mai Tieu           RECORDER:             None

COUNSEL FOR PLAINTIFF(S):                                         None Appearing

COUNSEL FOR DEFENDANT(S):                                         None Appearing

       Before the court is defendant Vanessa Ruiz’ Unopposed Motion for Stay of Determination of Pending
Motions. (#312). No Opposition was filed, and defendant represented to the court that the government does not
oppose the brief stay. Id.

        Defendant asserts that the parties are engaged in plea negotiations and that a stay is warranted so that the
parties may focus on negotiations and avoid unnecessary preparations and hearings. (#312).

       IT IS HEREBY ORDERED that defendant Vanessa Ruiz’ Unopposed Motion for Stay of Determination
of Pending Motions (#312) is GRANTED.

        IT IS THEREFORE ORDERED that the determination of all pending motions in this action is STAYED
until March 8, 2013. The parties must submit a Joint Status Report on or before March 6, 2013, informing the
court of the status of the plea negotiations. If the parties need additional time to engage in plea negotiations, a
motion must be filed with the court.


                                               CAM FERENBACH
                                               UNITED STATES MAGISTRATE JUDGE
